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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------X

 LISA SPIEGEL-GRIM, on behalf of herself and all
 others similarly situated,

                           Plaintiff,                                  Index No. 24-cv-4860

          v.                                                           CLASS ACTION COMPLAINT

 CVS PHARMACY, INC.,

                           Defendant.

 ------------------------------------------------------------------X

        Plaintiff, Lisa Spiegel-Grim, on behalf of herself and all others similarly situated

(“Plaintiff”), by and through her undersigned counsel, Denlea & Carton LLP, states for her

Complaint against defendant CVS Pharmacy, Inc. (“Defendant”), as follows:

                                        NATURE OF THE ACTION

        1.       This action seeks to redress Defendant’s false and misleading marketing

campaign for its Gold Emblem Yogurt Pretzel Twists product line which suggests that the

product contains yogurt, when it does not, and is healthy for consumers to eat, when it is not.

Rather, Defendant’s product is covered in a candy-like coating designed to provide the illusion

of health while delivering the harms of an ultra-processed food.

        2.       Defendant’s product packaging prominently features images of pretzels covered

in a white coating next to the words “Yogurt Pretzel Twists.” The back of the package states that

“Gold Emblem Yogurt Pretzel Twists are a crunchy pretzels covered by a deliciously sweet

yogurt shell.” The front and back of the packaging are shown here:




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       3.      The product name “Yogurt Pretzel Twists” and the packaging description of a

“yogurt shell” would be interpreted by any reasonable consumer as guarantees that the product is

made with yogurt and is healthy to consume. Yogurt is widely understood to be a healthy and

nutritious product containing calcium, protein, phosphorus and B Vitamins, as well as bacteria that

is beneficial to the gut biome.1

       4.      The ingredient list on the packaging represent that the products contain what

Defendant misleadingly calls a “yogurt coating.” The “yogurt coating” is made from sugar,

hydrogenated palm kernel oil, milk blend (milk, nonfat milk, lactose), yogurt blend (nonfat milk,

whey, lactic acid), nonfat milk, yogurt powder (cultured whey, nonfat milk), soy lecithin,




1
  Harvard T.H. Chan School of Public Health, Yogurt. (Updated November 2019). The Nutrition
Source, https://www.hsph.harvard.edu/nutritionsource/food-features/yogurt/ (last visited July 12,
2024)




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artificial sour cream flavor, artificial color, lactic acid, and artificial vanilla flavor. The

ingredient list is copied below:




        5.      The “yogurt coating” contains several ingredients known to be unhealthy for

people to consume in their ultra-processed form, including hydrogenated palm kernel oil.

        6.      Notably, the ingredient list does not include active bacterial cultures, a necessary

component of yogurt.

        7.      Essentially, in a visual and semantic sleight of hand, Defendant substitutes an

unhealthy ultra-processed candy-like coating for a healthy product (yogurt).

        8.      Defendant’s website markets its Gold Emblem products as being “healthy,”

reassuring consumers that its “selection includes everything from pretzels, applesauce and

chocolate-covered nuts and seeds to cereals and candies, ensuring a variety of savory and sweet

healthy snacks.”

        9.      More evidence is emerging every day that diets rich in ultra-processed foods are

associated with “increased risks for premature death, cardiovascular disease, mental health

disorders, diabetes, obesity, and sleep problems.”2


2
 Heidi Goodman, Ex. Ed. Harvard Health Letter, More Evidence That Ultra-processed Foods
Harm Health. June 1, 2024, Harvard Health Publishing.


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       10.     Consumers, like Plaintiff, who purchased Defendant’s Yogurt Pretzel Twists have

been deceived by Defendant’s false and misleading claims that this product contain yogurt, when

it does not, and is healthy to consume, when it is not, and are entitled to redress through this

action for Defendant’s deceptive conduct.

                                          THE PARTIES

       11.     Plaintiff Lisa Spiegel-Grim is an individual who resides in Rego Park, Queens,

New York.

       12.     Defendant CVS Pharmacy, Inc. is a Rhode Island corporation with its principal

place of business in Rhode Island.

       13.     Defendant markets, sells, and distributes various food products, including Gold

Emblem Yogurt Pretzel Twists.

       14.     Defendant markets, sells, and distributes Gold Emblem Yogurt Pretzel Twists in

New York and throughout the United States, including, but not limited to, through its retail

locations and website.

       15.     Defendant is responsible for the marketing, advertising, labeling, and packaging

of Gold Emblem Yogurt Pretzel Twists.

                                     JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because (1) the amount in controversy exceeds

the sum or value of $5,000,000.00, exclusive of interest and costs, and (2) the named Plaintiff and

Defendant are citizens of different states. 28 U.S.C. § 1332(d)(2)(A).




https://www.health.harvard.edu/nutrition/more-evidence-that-ultra-processed-foods-harm-health
(last visited July 12, 2024).


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       17.     The Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a), as

the parties are diverse and the amount in controversy exceeds the requisite threshold.

       18.     This Court may exercise jurisdiction over the Defendant because it has sufficient

minimum contacts in New York and purposely avails itself of the markets within New York

through the promotion, sale, marketing, and distribution of its products, thus rendering jurisdiction

by this Court proper and necessary.

       19.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to the claim occurred within this judicial district and

because Defendant has marketed and sold the products at issue in this action within this judicial

district and has done business within this judicial district.

                                   FACTUAL BACKGROUND

       I.      Defendant Markets Gold Emblem Yogurt Pretzel Twists as Healthy and as
               Containing Yogurt, When, in Fact, They Do Not Contain Yogurt and
               Instead Contain Unhealthy Ultra-processed Ingredients

       20.     Consumers increasingly are becoming aware of the benefits of living a healthy

lifestyle, including eating nutritious foods.

       21.     Yogurt, which has been made and consumed by humans for thousands of years, is

made when heated milk is combined with specific types of bacteria resulting in a thick, creamy

product.3 While yogurt is a rich source of calcium and protein, it also contains live bacteria

which, studies suggest, may be beneficial to the gut biome.4 Regular consumption of yogurt is



3
  Harvard T.H. Chan School of Public Health. Yogurt (last reviewed November 2019),
https://www.hsph.harvard.edu/nutritionsource/food-features/yogurt/ (last visited July 12,
2024)(citing the studies linked below in footnotes 4 through 6).
4
 D.J. Lisko et al., Effects of Dietary Yogurt on the Healthy Human Gastrointestinal (GI)
Microbiome. 2017 Microorganisms. 5(1), https://www.mdpi.com/2076-2607/5/1/6



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associated with reduced risk of obesity and chronic diseases,5 and may protect against heart

disease6 and Type II diabetes.7 These health benefits of yogurt, as well as its nutritional value,

are widely known to consumers and drive consumer decision-making. Indeed, “[o]ver the last 50

years, yogurt has shifted from being perceived as a specialty health food item to being a beloved

mainstream staple in America.”8

       22.     Regrettably, Defendant can lay no legitimate claim as to these properties

benefiting its consumers, as Gold Emblem Yogurt Pretzel Twists do not contain yogurt at all.

       23.     Rather, the Product contains what Defendant misleadingly describes as a “yogurt

coating,” which is, essentially, a vanilla-flavored candy-like coating whose primary ingredient is

sugar.9 While a “yogurt blend” and “yogurt powder” consisting of whey, cultured whey and

nonfat milk appear as secondary ingredients of the “yogurt coating” (after hydrogenated palm




5
  Dariush Mozaffrian, et al. Changes in Diet and Lifestyle and Long-Term Weight Gain in
Women and Men. 2011 N Engl J Med. 364:2392-404,
https://www.nejm.org/doi/10.1056/NEJMoa1014296?url_ver=Z39.88-
2003&rfr_id=ori:rid:crossref.org&rfr_dat=cr_pub%20%200www.ncbi.nlm.nih.gov
6
  Kerry L. Ivey et al., Association Between Yogurt, Milk, and Cheese Consumption and Common
Carotid Artery Intima-media Thickness and Cardiovascular Disease Risk Factors in Elderly
Women. 2011 Am J Clin Nutr. 94(1):234-9,
https://www.sciencedirect.com/science/article/pii/S0002916523023353?via%3Dihub
7
 Karen Margolis et al. A Diet High in Low-fat Dairy Products Lowers Diabetes Risk in
Postmenopausal Women. 2011 J Nutr. 141(11):1969-74,
https://www.sciencedirect.com/science/article/pii/S0022316622031030?via%3Dihub
8
 WebMD, Health Benefits of Yogurt, (February 14, 2023), https://www.webmd.com/diet/health-
benefits-yogurt (last visited July 12, 2024).
9
 Commercially available vanilla-flavored candy coatings contain similar ingredients. For
example, Great Value Vanilla Flavored Candy Coating contains sugar, palm kernel oil, palm oil,
nonfat dry milk, soy lecithin (an emulsifier), whole milk, natural flavors and vanilla extract.
https://www.walmart.com/ip/Great-Value-Vanilla-Flavored-Candy-Coating-16-oz/967028108


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kernel oil and a milk blend) they are clearly present in such minute quantities as to have minimal

(if any) nutritional value.10

         24.     Moreover, completely absent from the ingredients of the “yogurt coating” are any

live active yogurt cultures such as L. Bulgaricus, S. Thermophilus, L. Acidophilus, Bifidus, or L.

Casei. The addition of such bacterial cultures are a necessary component of yogurt, according to

the Standards of Identity (SOI) established under the Federal Food, Drug & Cosmetic Act

(“FDCA”) which are intended to “promote honesty and fair dealing” and “to ensure that the

characteristics, ingredients and production processes of specific foods are consistent with what

consumers expect.”11

         25.     According to the applicable SOI (last updated in 2021), “yogurt” is defined as:

                 the food produced by culturing one or more of the basic dairy
                 ingredients specified in paragraph (b) of this section and any of
                 the optional dairy ingredients specified in paragraph (c) of this
                 section with a characterizing bacterial culture that contains the
                 lactic acid-producing bacteria, Lactobacillus
                 delbrueckii subsp. Bulgaricus and Streptococcus
                 thermophilus. The ingredients specified in paragraphs (b) and (c)
                 of this section may be homogenized and must be pasteurized or
                 ultra-pasteurized before the addition of the characterizing bacterial
                 culture.

21 CFR § 131.200(a)(emphasis added). While additional flavors, sweeteners, and vitamins,

among other substances, may be added to the product without losing its identity as “yogurt,” the

FDCA makes clear that the inclusion of the “characterizing bacterial culture” is essential to being

able to market a product as “yogurt.” If the dairy ingredients are treated after culturing to

remove microorganisms, the product label must contain the phrase “does not contain live and


10
     https://www.medicalnewstoday.com/articles/295714 (last visited on July 12, 2024).
11
   FDA, Standards of Identity For Food (updated March 14, 2024),
https://www.fda.gov/food/food-labeling-nutrition/standards-identity-food (last visited July 12,
2024).


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active cultures.” 21 CFR § 131.200(f)(ii) (emphasis added).

          26.    The product packaging for Gold Emblem Yogurt Pretzel Twists, despite its

prominent claim to contain yogurt and the complete absence of live cultures from its ingredient

list, fails to state on the front panel that it “does not contain live and active cultures.”

          27.    Simply put, the product label for Gold Emblem Yogurt Pretzel Twists is

misleading because it suggests to a reasonable consumer that the product contains healthy and

nutritious “yogurt” (which, by definition, includes live bacterial cultures unless the label

prominently states otherwise) when it does not.

          28.    Instead, the product is covered in a vanilla-flavored candy-like coating that

consists primarily of sugar and other unhealthy ultra-processed ingredients such as hydrogenated

palm kernel oil which have been associated with cardiovascular disease and obesity.12

          29.    The serving size of the product – which is “5 pieces” according to a tiny white

letters on the front of the package and the nutritional information on the back – illuminates the

health perils of the product. Five pretzels coated with the candy-like coating contain 150

calories, 7 grams of saturated fat (35% of the Daily Value), and 12 grams of sugar. In contrast, a

serving of Gold Emblem Mini Pretzel twists contain 120 calories, no saturated fat and less than 1

grams of sugar.

          30.    A large review of studies on ultra-processed foods recently found that exposure to

such foods was associated with thirty-two adverse health parameters “spanning mortality, cancer,

and mental, respiratory, cardiovascular, gastrointestinal and metabolic health outcomes.”13


12
  Euridice Martinez Steele et al., The Burden of Excessive Saturated Fatty Acid Intake
Attributed to Ultra-processed Food Consumption: A Study Conducted with Nationally
Representative Cross-sectional Studies from Eight Countries. 2021 J Nutr Sci. 10:e43.
doi:10.1017/jns.2021.30, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8190718/
13
     Melissa Lane et al. Ultra-processed Food Exposure and Adverse Health Outcomes: Umbrella


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Published in 2024, such studies “are valuable because they look at large groups of people – the

2024 review included results from nearly 10 million — over the many years it can take for

chronic health conditions to develop.”14

          31.   Consumers are increasingly aware of the dangers of ultra-processed foods and are

willing to pay a higher price for products that are considered healthier and more natural.

Businesses, including Defendant, prominently promote their products as containing yogurt, when

they do not, in order to capitalize on consumers’ belief in the health and nutritional benefits of

yogurt.

          32.   Defendant’s false, misleading, and deceptive misrepresentations and omissions

are likely to continue to deceive and mislead reasonable consumers and the public, as they have

already deceived and misled Plaintiff and the Class Members.

          II.   Plaintiff Purchased Relying on Defendant’s Representations that the
                Products Were Healthy and Contained Yogurt

          26.   Over the last two years, Plaintiff has purchased Gold Emblem Yogurt Pretzel

Twists for her and her grandson at the CVS store located in Kew Gardens. Plaintiff last

purchased Gold Emblem Yogurt Pretzel Twists in or about January, 2024.

          27.   Prior to purchasing Gold Emblem Yogurt Pretzel Twists, Plaintiff saw the

product’s packaging and, in particular, the representation that the pretzels are covered in yogurt.

          28.   Plaintiff purchased Gold Emblem Yogurt Pretzel Twists reasonably believing that

Defendant’s Product contains yogurt.



Review of Epidemiological Meta-analyses. 2024 BMJ 384:e077310, https://doi.org/10.1136/bmj-
2023-077310
14
  Alice Callahan. How Bad Are Ultraprocessed Foods, Really? The New York Times. May 6,
2024, https://www.nytimes.com/2024/05/06/well/eat/ultraprocessed-foods-harmful-health.html
(last visited May 21, 2024)


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       29.     Plaintiff is aware of the health benefits of yogurt and reasonably believed she was

purchasing a product that was healthier snack for her and her grandson to consume because it

contained yogurt.

       30.     Had Plaintiff known that Defendant’s Gold Emblem Yogurt Pretzel Twists do not

contain yogurt, she would not have purchased Defendant’s products or, at the very least, would

not have paid a price premium for Defendant’s Gold Emblem Yogurt Pretzel Twists.

                        CLASS DEFINITION AND ALLEGATIONS

       31.     Plaintiff brings this action on behalf of herself and all other similarly situated

consumers in the State of New York pursuant to CPLR Section 901, and seeks certification of

the following class (the “Class”):

               All consumers who, within the applicable statute of limitations
               period, purchased Gold Emblem Yogurt Pretzel Twists in the State
               of New York (whether online or in-person) manufactured, marketed,
               distributed, and/or sold by Defendant which Defendant warranted as
               containing yogurt (the “Class Product”). Excluded from the class
               are Defendant, its parents, subsidiaries, affiliates, officers and
               directors, judicial officers, and their immediate family members and
               associated court staff assigned to this case, and those who purchased
               Class Product for resale.

       32.     Plaintiff expressly disclaims any intent to seek any recovery in this action for

personal injuries that she or any Class member may have suffered.

       33.     Numerosity. This action is appropriately suited for a class action. The members

of the Class are so numerous that joinder of all members of the Class is impracticable. Plaintiff

is informed, believes, and thereon alleges, that the proposed Class contains thousands of

purchasers of the Class Product who have been damaged by Defendant’s conduct as alleged

herein. The precise number of Class members is unknown to Plaintiff.




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        34.     Existence and Predominance of Common Questions of Law and Fact. This

action involves questions of law and fact common to the Class. The common legal and factual

questions include, but are not limited to, the following:

                •       Whether Defendant’s conduct, as alleged herein, constitutes violations of
                        New York General Business Law Section 349.

                •       Whether Defendant’s conduct, as alleged herein, constitutes violations of
                        New York General Business Law Section 350.

                •       Whether Defendant labeled, packaged, advertised, marketed, and/or sold
                        the Class Product with claims that it contained “yogurt.”

                •       Whether Defendant’s labeling, packaging, advertising, marketing, and/or
                        selling of the Class Product with claims that it contained “yogurt” was
                        and/or is false, fraudulent, deceptive, and/or misleading.

        35.     Typicality. Plaintiff’s claims are typical of the claims of the members of the

Class because, inter alia, all Class members have been injured through the uniform misconduct

described above and were subject to Defendant’s misrepresentations. Moreover, Plaintiff’s

claims are typical of the Class members’ claims. Plaintiff is advancing the same claims and legal

theories on behalf of herself and all members of the Class.

        36.     Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of the members of the Class. Plaintiff purchased a Class Product, and she was harmed

by Defendant’s deceptive misrepresentations. Plaintiff has therefore suffered an injury in fact as

a result of Defendant’s conduct, as did all Class members who purchased Class Product.

Plaintiff has retained counsel experienced in complex consumer class action litigation, and

Plaintiff intends to prosecute this action vigorously. Plaintiff has no adverse or antagonistic

interests to those of the Class.

        37.     Superiority. A class action is superior to other methods for the fair and efficient

adjudication of this controversy. The damages or other financial detriment suffered by



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individual Class members is relatively small compared to the burden and expense that would be

entailed by individual litigation of their claims against Defendant. It would be virtually

impossible for a member of the Class, on an individual basis, to obtain effective redress for the

wrongs done to him or her. Further, even if the Class members could afford such individualized

litigation, the court system could not. Individualized litigation would create the danger of

inconsistent or contradictory judgments arising from the same set of facts. Individualized

litigation would also increase the delay and expense to all parties and the court system from the

issues raised by this action. By contrast, the class action device provides the benefits of

adjudication of these issues in a single proceeding, economies of scale, and comprehensive

supervision by a single court, and presents no management difficulties under the circumstances

here.

        38.     Plaintiff seeks monetary damages, including statutory damages on behalf of the

entire Class. Unless a Class is certified, Defendant will be allowed to profit from its deceptive

practices, while Plaintiff and the members of the Class will have suffered damages.

                               As and for a First Cause of Action
                  (Violation of New York General Business Law Section 349)

        39.     Plaintiff realleges and incorporates by reference the allegations in the paragraphs

above as if fully set forth herein.

        40.     New York General Business Law Section 349 prohibits “deceptive acts or

practices in the conduct of any business, trade, or commerce or in the furnishing of any service in

New York.”

        41.     By labeling, packaging, advertising, marketing, distributing, and/or selling each

Class Product to Plaintiff and the other Class members with false and misleading claims that the




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Class Product contained “yogurt” as set forth above, Defendant engaged in, and continues to

engage in, deceptive acts and practices.

       42.     In taking these actions, Defendant failed to disclose material information about

their products, which omissions were misleading in a material respect to consumers and resulted

in the purchase of Defendant’s products.

       43.     Defendant has deceptively labeled, packaged, advertised, marketed, promoted,

distributed, and sold the Class Product to consumers.

       44.     Defendant’s conduct was consumer oriented.

       45.     Defendant engaged in the deceptive acts and/or practices while conducting

business, trade, and/or commerce and/or furnishing a service in New York.

       46.     Defendant’s misrepresentations were misleading in a material respect because the

Class Product does not contain “yogurt.”

       47.     Defendant knew, or should have known, that by making the misrepresentations

addressed herein, Plaintiff and other consumers would be misled into purchasing Class Product.

       48.     Plaintiff and the Class members have been aggrieved by and have suffered losses

as a result of Defendant’s violations of Section 349 of the New York General Business Law. By

virtue of the foregoing unfair, unconscionable, and deceptive acts in the conduct of trade or

commerce, Plaintiff and the members of the Class have been substantially injured by purchasing

and/or overpaying for a product that is not what Defendant represent it to be.

       49.     By reason of the foregoing, Defendant’s conduct, as alleged herein, constitutes

deceptive acts and practices in violation of Section 349 of the New York General Business Law,

and Defendant is liable to Plaintiff and the Class for the actual damages that they have suffered




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as a result of Defendant’s actions, the amount of such damages to be determined at trial, plus

statutory damages, treble damages, and attorneys’ fees and costs.

        50.     Defendant’s conduct, as alleged herein, in violation of Section 349 of the New

York General Business Law was engaged in by Defendant willfully and/or knowingly.

Accordingly, Plaintiff and members of the Class are entitled to an award of damages above and

beyond their actual damages in accordance with Section 349(h) of the New York General

Business Law.

                              As and for a Second Cause of Action
                  (Violation of New York General Business Law Section 350)

        51.     Plaintiff realleges and incorporates by reference the allegations in the paragraphs

above as if fully set forth herein.

        52.     Defendant’s labeling, packaging, marketing, and advertising of the Class Product

is “misleading in a material respect,” as it fails to disclose to consumers material information in

Defendant’s sole possession and, thus, is “false advertising.”

        53.     No rational individual would purchase the Class Product at the prices at which it

is sold with full knowledge that the Class Product does not contain “yogurt.”

        54.     Defendant’s labeling, packaging, marketing, and advertising of the Class Product

as containing “yogurt” were consumer oriented.

        55.     Defendant’s labeling, packaging, advertisements, and marketing of the Class

Product as containing “yogurt” was misleading in a material respect, which induced plaintiff and

class members to purchase the product.

        56.     By virtue of the foregoing unfair, unconscionable, and deceptive acts in the

conduct of trade or commerce in New York, Plaintiff and the members of the Class have been




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substantially injured by paying for a product that has diminished, lesser, or no value due to its

false claims that the Class Product contains “yogurt.”

        57.        Defendant’s conduct, as alleged herein, constitutes false advertising in violation

of Section 350 of the New York General Business Law, and Defendant is liable to Plaintiff and

the members of the Class for the actual damages that they have suffered as a result of actions, the

amount of such damages to be determined at trial, statutory damages, plus treble damages, and

attorneys’ fees and costs.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

Defendant as follows:

        A.      Certifying this action as a class action as soon as practicable, with the Class as

defined above, designating Plaintiff as the named Class representative, and designating the

undersigned as Class Counsel.

        B.      On Plaintiff’s First Cause of Action, awarding against Defendant the damages that

Plaintiff and the other members of the Class have suffered as a result of Defendant’s actions, the

amount of such damages to be determined at trial, plus statutory and treble damages.

        C.      On Plaintiff’s Second Cause of Action, awarding against Defendant the damages

that Plaintiff and the other members of the Class have suffered as a result of Defendant’s actions,

the amount of such damages to be determined at trial, plus statutory and treble damages.

        D.      On Plaintiff’s First and Second Causes of Action, awarding Plaintiff and the Class

interest, costs, and attorneys’ fees.

        E.      Awarding Plaintiff and the Class such other and further relief as this Court deems

just and proper.




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                                DEMAND FOR TRIAL BY JURY

         Plaintiff hereby demands a trial by jury on all issues so triable.

Dated:      July 12, 2024
            White Plains, New York

                                                        DENLEA & CARTON LLP


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